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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
                                                             :
SYNTEL STERLING BEST SHORES                                  :
MAURITIUS LIMITED, et al.,                                   :
                                                             :   15 Civ. 211 (LGS)
              Plaintiffs/Counterclaim-Defendants, :
                                                             :        ORDER
                           -against-                         :
                                                             :
THE TRIZETTO GROUP, et al.,                                  :
                                                             :
              Defendants/Counterclaim-Plaintiffs. :
------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, Defendants/Counterclaim-Plaintiffs The TriZetto Group, Inc. and Cognizant

Technology Solutions Corp. (together, “Defendants”) and Plaintiffs/Counterclaim-Defendants

Syntel Sterling Best Shores Mauritius Limited and Syntel, Inc. (together, “Syntel”) have agreed

to dismiss Syntel’s breach of contract claim regarding transition rebates. It is hereby

        ORDERED that Syntel’s breach of contract claim regarding transition rebates is

DISMISSED with prejudice.



Dated: October 19, 2020
       New York, New York
